Case 2:05-cr-20151-.]DB Document 11 Filed 06/08/05 Page 1 of 2 Page|D 12

rios /YM;G.
lN TI{E UNITED STATES DISTRICT COURT
FoR THE WESTERN DISTRICT OF TENNESSEE 95 visit _3 P;~-i in 93

 

 

EASTERN DIVISION

,i. .;. é """~t=§i.il';’
L.“,`i_'i§fl`.-.`. tj.s.“o::r.-o’r.
WD. C.-."-` TN, lviEI‘¢’lPi~i§E

UNITED STATES OF AMERICA

V.

]OE HOWELL 05cr20151-B

ORDER ON ARRAIGNMENT

 

This cause came to be heard on (Qw»w 6 2005 the United States Attorney

l

for this district appeared on behalf of the gd</emment, and the defendant appeared in person and with
counsel:

NAME l /£/Cn, 1943 ;M(_j$/) Who is Retained/Appointed.

The defendant, through counsel, waived formal arraignment and entered a plea of not guilty.

A]l motions shall be filed Within thirty (30) days from the date hereof unless, for good cause
shown to a Di strict J udge, such period is extended

The defendant, Who is not in stody, may stand on his present bond.
VThe defendant, (not hav` made bond) (being a,s't§e prisoner) (being a federal
prisoner) (being held Without bond pursuant to BRA of 1984), is remanded to the custody

of the U.S. Marshal.

UNITED STATES MAGISTRATE ]UDGE

 

CHARGES -18:922g
firearms

Attorney assigned to Case: K. Earley

Age: 63

Ttn`s document entered on the docket heat in comp'
with Huie 55 and/or 32(b) FRCrP on "

    

   

UNITED sTATE D"ISIC COURT - WESNTER D'S'TRCT 0 TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number ll in
case 2:05-CR-20151 Was distributed by faX, mail, or direct printing on
June 9, 2005 to the parties listed.

 

 

Katrina U. Earley

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable .l. Breen
US DISTRICT COURT

